Case 8:20-cr-00366-WFJ-SPF Document 51 Filed 10/04/22 Page 1 of 8 PagelD 387°39° ' f°

Sebastien Vachon-Desjardins
8:20-cr-366-WFJ-SPF

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA Case Number: 8:20-cr-366-WFJ-SPF
V. USM Number: 90336-509
SEBASTIEN VACHON-DESJARDINS Mark J. O’Brien, Retained

 

JUDGMENT IN A CRIMINAL CASE

The Defendant pleaded guilty to Counts One, Two, Three, and Four of the Indictment. The Defendant is adjudicated guilty
of these offenses:

Date Offense Count
Title & Section Nature of Offense Concluded Number(s)
18 U.S.C. §§ 371; 18 U.S.C. §§ Conspiracy to commit Computer Fraud April 2020 One
1030(a)(5)(A), (c)(4)(A)()(),
(c)(4)(A)(i)(VI), and (c)(4)(B)(i);
and 1030(a)(7)(B), (a)(7)(C), and
(c)(3)(A)
18 U.S.C. §§ 1349 and 1343 Conspiracy to Commit Wire Fraud April 2020 Two
18 U.S.C. §§ 1030(a)(5)(A), Intentional Damage to Protected Computer May 1, 2020 Three
(c)(4)(A)()(1), (C)(4)(A) (I) (VI), and
(c)(4)(B)(i) and 2
18 U.S.C. §§ 1030(a)(7)(b), Transmitting a Demand in Relation to Damaging May 1, 2020 Four

(a)(7)(C), (c)(3)(A), and 2 a Protected Computer

The Defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

IT IS ORDERED that the Defendant must notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the Defendant shall notify the court and United States Attorney of any material
change in the Defendant's economic circumstances.

Date of Imposition of Judgment:
October 4, 2022

WILLIAM F. JUNG
UNITED STATES DISTRICT JUDGE

October Lyf? 3022

AO 245B (Rev. 09/19) Judgment in a Criminal Case
Case 8:20-cr-00366-WFJ-SPF Document 51 Filed 10/04/22 Page 2 of 8 PagelD 388"? °°

Sebastien Vachon-Desjardins
8:20-cr-366-WFJ-SPF

IMPRISONMENT

The Defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of TWO HUNDRED FORTY (240) MONTHS. This term consists of a 60-month term as to Counts One and Four,
120-month term as to Count Three and a 240-month term as to Count Two. Counts One, Three, and Four are to
run concurrently to Count Two.

The Defendant is remanded to the custody of the United States Marshal.

 

 

 

 

 

 

 

RETURN
|] have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By:

 

Deputy U.S. Marshal

AO 245B (Rev. 09/19) Judgment in a Criminal Case
Case 8:20-cr-00366-WFJ-SPF Document 51 Filed 10/04/22 Page 3 of 8 PagelD 389Pas 3 of5

Sebastien Vachon-Desjardins
8:20-cr-366-WFJ-SPF

SUPERVISED RELEASE

Upon release from imprisonment, the Defendant will be on supervised release for a term of THREE (3) YEARS.
This term consists of a 3-year term as to Counts One, Two, Three and Four, all such terms to run concurrently.

MANDATORY CONDITIONS

Defendant shall not commit another federal, state or local crime.

Defendant shall not unlawfully possess a controlled substance.

Defendant shall refrain from any unlawful use of a controlled substance. Defendant shall submit to one drug test
within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the
court.

4. Defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

5. Defendant shail make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute
authorizing a sentence of restitution.

ON =

The Defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

The Defendant shall also comply with the additional conditions on the attached page.

AO 245B (Rev. 09/19) Judgment in a Criminal Case
Case 8:20-cr-00366-WFJ-SPF Document 51 Filed 10/04/22 Page 4 of 8 PagelD 390Pa9¢ 4 of5

Sebastien Vachon-Desjardins
8:20-cr-366-WFJ-SPF

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, Defendant shall comply with the following standard conditions of supervision. These
conditions are imposed because they establish the basic expectations for your behavior while on supervision and identify
the minimum tools needed by Probation Officers to keep informed, report to the court about, and bring about improvements
in your conduct and condition.

1. Defendant shall report to the Probation Office in the federal judicial district where you are authorized to reside within
72 hours of your release from imprisonment, unless the Probation Officer instructs you to report to a different
Probation Office or within a different time frame. After initially reporting to the Probation Office, the Defendant will
receive instructions from the court or the Probation Officer about how and when the Defendant must report to the
Probation Officer, and the Defendant must report to the Probation Officer as instructed.

2. After initially reporting to the Probation Office, you will receive instructions from the court or the Probation Officer
about how and when Defendant shail report to the Probation Officer, and Defendant shall report to the Probation
Officer as instructed.

3. Defendant shall not knowingly leave the federal judicial district where you are authorized to reside without first
getting permission from the court or the Probation Officer.

4, Defendant shail answer truthfully the questions asked by your Probation Officer

5. Defendant shall live at a place approved by the Probation Officer. If you plan to change where you live or anything

about your living arrangements (such as the people you live with), Defendant shall notify the Probation Officer at
least 10 days before the change. If notifying the Probation Officer in advance is not possible due to unanticipated
circumstances, Defendant shall notify the Probation Officer within 72 hours of becoming aware of a change or
expected change.

6. Defendant shall allow the Probation Officer to visit you at any time at your home or elsewhere, and Defendant shall
permit the Probation Officer to take any items prohibited by the conditions of your supervision that he or she
observes in plain view.

7. Defendant shall work full time (at least 30 hours per week) at a lawful type of employment, unless the Probation
Officer excuses you from doing so. If you do not have full-time employment Defendant shall try to find full-time
employment, unless the Probation Officer excuses you from doing so. If you plan to change where you work or
anything about your work (such as your position or your job responsibilities), Defendant shall notify the Probation
Officer at least 10 days before the change. If notifying the Probation Officer atleast 10 days in advance is not
possible due to unanticipated circumstances, Defendant shall notify the Probation Officer within 72 hours of
becoming aware of a change or expected change.

8. Defendant shall not communicate or interact with someone you know is engaged in criminal activity. If you know
someone has been convicted of a felony, Defendant shall not knowingly communicate or interact with that person
without first getting the permission of the Probation Officer.

9. if you are arrested or questioned by a law enforcement officer, Defendant shall notify the Probation Officer within
72 hours.
10. Defendant shall not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous

weapon (i.e., anything that was designed, or was modified for, the specific purpose of causing bodily injury or death
to another person such as nunchakus or tasers).

11. Defendant shall not act or make any agreement with a law enforcement agency to act as a confidential human
source or informant without first getting the permission of the court.
12, If the Probation Officer determines that you pose a risk to another person (including an organization), the Probation

Officer may require you to notify the person about the risk and Defendant shall comply with that instruction. The
Probation Officer may contact the person and confirm that you have notified the person about the risk.
13. Defendant shail follow the instructions of the Probation Officer related to the conditions of supervision.

U.S. Probation Office Use Only

AUS. Probation Officer has instructed me on the conditions specified by the court and has provided me with a written
copy of this judgment containing these conditions. For further information regarding these conditions, see Overview of
Probation and Supervised Release Conditions, available at: www.uscourts.qov.

Defendant's Signature: Date:

 

AO 245B (Rev. 09/19} Judgment in a Criminal Case
Case 8:20-cr-00366-WFJ-SPF Document 51 Filed 10/04/22 Page 5 of 8 PagelD 391°99°°°'®

Sebastien Vachon-Desjardins
8:20-cr-366-WFJ-SPF

CRIMINAL MONETARY PENALTIES

The Defendant must pay the following total criminal monetary penalties under the schedule of payments set forth
in the Schedule of Payments.

Assessment Restitution Fine AVAA JVTA Assessment**
Assessment’
$400.00 To be determined WAIVED NIA NIA

SCHEDULE OF PAYMENTS

Having assessed The Defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:
Special Assessment shall be paid in full and is due immediately.

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary
penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program,
are made to the clerk of the court, unless otherwise directed by the court, the Probation Officer, or the United States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
Payments shall be applied in the following order: (1 ) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA

assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, and (9) penalties, and (10)
costs, including cost of prosecution and court costs.

FORFEITURE
Defendant shall forfeit to the United States those assets previously identified in the Order of Forfeiture, that are subject to
forfeiture.

AO 245B (Rev. 09/19) Judgment in a Criminal Case
Case 8:20-cr-00366-WFJ-SPF Document 51 Filed 10/04/22 Page 6 of 8 PagelD 392

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
UNITED STATES OF AMERICA
V. Case No. 8:20-cr-366-WFJ-SPF
SEBASTIEN VACHON-DESJARDINS

ORDER OF FORFEITURE AND PRELIMINARY
ORDER OF FORFEITURE FOR DIRECT ASSET

 

THIS CAUSE comes before the Court upon the United States of America's
motion for:

1. An order of forfeiture against the defendant in the amount of
$21,500,000; and

2. A preliminary order of forfeiture for approximately 27.65 BTC
remaining from the bitcoin previously seized from the defendant’s BTC Wallet
3Pxki6pFFKC12YSn8JtDs3ZrEg3pFTHnHd on or about January 27, 2021 (the
27.65 BTC).

Being fully advised of the relevant facts, the Court hereby finds that at least
$21,500,000 was obtained by the defendant as a result of his participation in the
computer fraud and wire fraud conspiracies and his computer fraud offenses, for
which he has pled guilty.

The Court further finds that the 27.65 BTC, identified above, represents

proceeds the defendant obtained as a result of his participation in the computer fraud
Case 8:20-cr-00366-WFJ-SPF Document 51 Filed 10/04/22 Page 7 of 8 PagelD 393

_ and wire fraud conspiracies and his computer fraud offenses, for which he has pled
guilty.

Accordingly, it is hereby:

ORDERED, ADJUDGED, and DECREED that for good cause shown, the
United States’ motion is GRANTED.

It is FURTHER ORDERED that, pursuant to 18 U.S.C. §§ 981(a)(1)(C),
982(a)(2)(B), 1030(i)(1)(B), 28 U.S.C. § 2461(c) and Rule 32.2(b)(2) of the Federal
Rules of Criminal Procedure, the defendant shall be held liable for an order of
forfeiture in the amount of $21,500,000.

It is FURTHER ORDERED that, because the $21,500,000 in proceeds was
dissipated by the defendant, the United States may seek, as a substitute asset,
pursuant to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 982(b)(1) and 28
U.S.C. § 2461(c), forfeiture of any of the defendant’s property up to the value of
$21,500,000.

It is FURTHER ORDERED that, pursuant to 18 U.S.C. §§ 981(a)(1)(C),
982(a)(2)(B), 1030(1)(1)(B), 28 U.S.C. § 2461(c) and Rule 32.2(b)(2), the 27.65 BTC,
identified above, is hereby forfeited to the United States for disposition according to
law. The net proceeds from the forfeiture of the 27.65 BTC, identified above, shall
be credited to and reduce the amount the United States shall be entitled to forfeit as

substitute assets.
Case 8:20-cr-00366-WFJ-SPF Document 51 Filed 10/04/22 Page 8 of 8 PagelD 394

It is FURTHER ORDERED that, upon entry, this order shall become a final
order of forfeiture as to the defendant.

The Court retains jurisdiction to address any third-party claim that may be
asserted in these proceedings, to enter any further order necessary for the forfeiture
and disposition of such property, and for any substitute assets that the United States
may be entitled to seek up to the amount of the order of forfeiture.

DONE and ORDERED in Tampa, Florida, this 4" day

of October _, 2022.

    

WILLIAM F. JUNG

UNITED STATES DIST JUDGE

Copies to:
Suzanne C. Nebesky, AUSA
Counsel of Record
